
PER CURIAM.
By petition and cross-petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date October 26, 1967.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petition and cross-petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law. The petition and cross-petition are therefore denied.
The respondent’s petition for allowance of attorneys’ fees is hereby granted in the amount of $250.00.
CALDWELL, C. J., and ROBERTS, DREW, THORNAL and ADAMS, JJ., concur.
